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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


SHENZHEN SHINING BRIGHT
TECHNOLOGY CO., LTD,
                                                      Case No.: 1:25-cv-5915
                Plaintiff,

                   v.


THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,                          JURY TRIAL DEMAND
PARTNERSHIPS, and
UNINCORPORATED ASSOCIATES
IDENTIFIED ON SCHEDULE “A,”

                Defendants.



                                   VERIFIED COMPLAINT

          Plaintiff Shenzhen Shining Bright Technology Co., Ltd (“Plaintiff”) hereby brings the

present action against all Individuals, Corporations, Limited Liability Companies, Partnerships,

and Unincorporated Associates Identified on Schedule A (collectively, “Defendants”), attached

hereto.

                                  NATURE OF THE ACTION

          1.     This is an action for design patent infringement under 35 U.S.C. § 271 et seq.,

arising from Defendants’ unauthorized manufacture, use, offering for sale, sale, and importation

of products that infringe Plaintiff’s U.S. Design Patent No. D971,348 S (the ‘‘348 Patent’), which

claims an original and non-functional ornamental design for a face mask. A true and correct copy

of the '348 Patent is attached hereto as Exhibit A.




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        2.       On information and belief, Defendants operate in coordination through commercial

storefronts on platforms such as Amazon and Walmart, using tactics commonly associated with

counterfeiting and infringement. These tactics are not speculative—they are well-documented and

consistent with broader industry findings regarding the tactics used by online counterfeit

networks. 1

        3.       The Defendants conceal their true identities behind false names and incomplete

registration data, often operating multiple stores using the same or similar branding, marketing

materials, and infringing products.

        4.       Plaintiff brings this action to enjoin the deliberate infringement of its patented

design and to recover for the resulting harm, including lost market position, consumer confusion,

and irreparable injury caused by Defendants’ unlawful conduct.

                                    JURISDICITION AND VENUE

        5.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a) as this action arises under the patent laws of the United States.

        6.       This Court has personal jurisdiction over each Defendant pursuant to the Illinois

long-arm statute, 735 ILCS 5/2-209(a), which permits jurisdiction to the full extent allowed by the

United States Constitution. The exercise of personal jurisdiction complies with the Due Process

Clause of the Fourteenth Amendment, as Defendants have purposefully directed business activities

toward Illinois residents by operating commercial, interactive online storefronts that offer to sell,

and have sold, infringing products to consumers in this District.




1
  See John Dunham & Associates, The Counterfeit Silk Road: Impact of Counterfeit Consumer Products Smuggled
into the United States, prepared for the Buy Safe America Coalition; Daniel C.K. Chow, Alibaba, Amazon, and
Counterfeiting in the Age of the Internet, 40 NW. J. INT’L L. & BUS. 157 (2020); U.S. Dept. of Homeland Security,
Combating Trafficking in Counterfeit and Pirated Goods (Jan. 24, 2020).




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        7.      Federal courts in this District have consistently held that such conduct is sufficient

to establish specific jurisdiction. See Monster Energy Co. v. Wensheng, 136 F. Supp. 3d 897, 905

(N.D. Ill. 2015) (holding that the “operation of a commercial, interactive website accessible in

Illinois and through which consumers in Illinois can purchase allegedly infringing products is

sufficient to confer personal jurisdiction”). Moreover, the Seventh Circuit has found personal

jurisdiction appropriate where a defendant “holds itself out as open to do business with every state”

and is “ready and willing to do business with [that state’s] residents.” Hemi Grp., LLC v. City of

New York, 622 F.3d 754, 757–58 (7th Cir. 2010) (emphasis added).

        8.      Venue is proper in this District under 28 U.S.C. § 1391(b) and/or § 1400(b) because

a substantial part of the infringing acts occurred here, and Defendants have targeted Illinois

consumers and transacted business in this District via online marketplaces.

        9.      Here, at least one infringing product was offered for purchase and shipment to an

address within this District through the online storefronts operated by Defendants 1 and 3. As

demonstrated in Exhibit B, the attached live checkout page confirms that those storefronts enabled

a transaction targeting an Illinois consumer. A true and correct copy of the checkout page

demonstrating this infringing offer for sale is attached hereto as Exhibit B.

        10.     On information and belief, Defendants 1 and 2 operate as a single business entity,

as do Defendants 3 and 4, respectively. This concrete evidence leaves no doubt that these

Defendants are not merely capable of targeting Illinois residents—they have actively done so

through deliberate commercial conduct that constitutes infringement within this forum. Moreover,

to the extent any Defendant is not subject to personal jurisdiction in a specific state but has directed

infringing conduct toward the United States as a whole, jurisdiction is proper under Federal Rule

of Civil Procedure 4(k)(2).




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       11.     Defendants’ infringing conduct arises out of the same transaction, occurrence, or

series of occurrences, and common questions of law and fact exist as to all Defendants. Joinder is

proper under Fed. R. Civ. P. 20(a)(2) based on overlapping product designs, sales platforms,

marketing strategies, and coordinated efforts to conceal identity and evade enforcement. On

information and belief, Defendants 1 and 2 operate as a single business entity, as do Defendants 3

and 4, further supporting the propriety of joinder and the inference of coordinated conduct.

                                          THE PARTIES

       12.     Plaintiff Shenzhen Shining Bright Technology Co., Ltd is a Chinese company with

its principal place of business in Shenzhen, Guangdong Province. Plaintiff is the assignee and

rightful owner of the ‘348 Patent.

       13.     On information and belief, each Defendant operates one or more online storefronts,

identified in Schedule A, through which they advertise, offer for sale, sell, and ship infringing

products into the United States, including Illinois.

       14.     Defendants deliberately hide their identities using incomplete or fraudulent seller

information, rendering traditional enforcement channels ineffective and necessitating this action.

                                     THE ASSERTED PATENT

       15.     Plaintiff is the lawful owner of all rights in and to U.S. Patent No. D971,348 S,

which claims an original, ornamental design for a mask. The ‘348 Patent was duly and lawfully

issued on November 29, 2022, and remains valid and enforceable. Exhibit A.

       16.     Plaintiff provides notice of its patent rights through product listings, including

patent markings, and licenses its design to authorized sellers. Defendants are not authorized by

Plaintiff to use or sell products that embody the patented design.




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                            DEFENDANTS’ UNLAWFUL CONDUCT

        17.      Defendants, without authorization, have imported, offered for sale, and sold

products that infringe the ’348 Patent. These infringing products are promoted and sold through

interactive online platforms accessible within this District, targeting consumers in this jurisdiction.

        18.      Defendants’ online storefronts display and market the accused products through

listings that mirror the patented design. True and correct copies of screenshots depicting the

infringing storefronts and products are attached hereto as Exhibit C.

        19.      Defendants employ coordinated tactics to mask their identity, avoid enforcement,

and perpetuate infringement, including the use of false aliases, cloned storefronts, and offshore

payment systems. These tactics are not speculative—they are well-documented and consistent with

broader industry findings regarding the tactics used by online counterfeit networks.

        20.      Defendants’ conduct is willful and undertaken with actual knowledge of Plaintiff’s

patent rights.

        21.      Defendants' infringing conduct has caused and continues to cause irreparable harm

to Plaintiff in the form of lost sales, erosion of patent exclusivity, and harm to reputation

                                              COUNT I

                      INFRINGEMENT OF U.S. PATENT NO. D971,348 S
                                    (35 .S.C. § 271)

        22.      Plaintiff incorporates by reference the allegations set forth in Paragraphs 1 through

20 as if fully restated herein.

        23.      Plaintiff avers that the Defendants have directly and/or indirectly infringed the ‘348

Patent by manufacturing, using, offering for sale, selling, and/or importing products that embody

the patented design without Plaintiff’s authorization.




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         24.       Plaintiff avers that the accused products bear a substantial visual resemblance to

the ornamental features claimed in the ’348 Patent. This correlation is demonstrated through side-

by-side comparisons, visual similarity to the claimed design, and the accompanying product

listings set forth below:

    Claim Chart: U.S. Design Patent D’971,348 S 2 vs Infringing Products from Defendants
                           Listed on Schedule A of the Complaint

               U.S. Design Patent D’971,348 S




               U.S. Design Patent D’971,348 S




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 Figure 1 and Figure 6 are copied as shown in the ‘348 Patent; however, as noted in the ‘348 Patent, the broken lines show
unclaimed environmental matter.




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           Claimed Product




    U.S. Design Patent D’971,348 S




    U.S. Design Patent D’971,348 S




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          Claimed Product




    U.S. Design Patent D’971,348 S




    U.S. Design Patent D’971,348 S




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          Claimed Product




    U.S. Design Patent D’971,348 S




    U.S. Design Patent D’971,348 S




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                Claimed Product




       25.    Plaintiff avers that Defendants’ infringement has been and continues to be willful,

justifying enhanced damages under 35 U.S.C. § 284 and a finding of exceptionality under § 285.

       26.    Plaintiff avers that it is entitled to preliminary and permanent injunctive relief

pursuant to 35 U.S.C. § 283.

                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

   A. A judgment that Defendants have infringed the ‘348 Patent;

   B. Preliminary and permanent injunctive relief enjoining Defendants from further acts of
      infringement;

   C. An order directing online marketplaces and payment processors to freeze assets and disable
      storefronts linked to Defendants;

   D. An award of damages adequate to compensate for the infringement, including profits under
      35 U.S.C. § 289 and/or reasonable royalty under § 284;

   E. A finding that the case is exceptional and an award of attorneys’ fees and costs under 35
      U.S.C. § 285;

   F. Treble damages for willful infringement;




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   G. Pre-judgment and post-judgment interest; and

   H. Such further relief as the Court deems just and proper.


                                        JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable.

Dated: May 27, 2025                                           Respectfully submitted,

                                                              /s/ Alexander Warden
                                                              Alexander Warden, Esq.
                                                              Atlantic Partners Law Group, LLC
                                                              2825 Third Ave.
                                                              Bronx, NY 10456
                                                              awarden@aplg.us
                                                              Counsel for Plaintiff




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                                        VERIFICATION

I, Guofeng Feng, hereby certify as follows:

       1.      I am the CEO for Shenzhen Shining Bright Technology Co., Ltd. As such, I

amauthorized to make this Verification on Shenzhen Shining Bright Technology Co., Ltd’s behalf.

       2.      I have read the foregoing Complaint and, based on my personal knowledge and my

knowledge of information reported to me by subordinates and colleagues who report to me, the

factual allegations contained in the Complaint are true.

       3.      I certify under penalty of perjury under the laws of the United States of America

that the foregoing statements made by me are true and correct.




Executed in                 Guangdong, China                        on May 26 , 2025




                                                     Guofeng Feng
                                                     CEO




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